Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 1 of 49




                    PRIVATE & CONFIDENTIAL
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 2 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 3 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 4 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 5 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 6 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 7 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 8 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 9 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 10 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 11 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 12 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 13 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 14 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 15 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 16 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 17 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 18 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 19 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 20 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 21 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 22 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 23 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 24 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 25 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 26 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 27 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 28 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 29 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 30 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 31 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 32 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 33 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 34 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 35 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 36 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 37 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 38 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 39 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 40 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 41 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 42 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 43 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 44 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 45 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 46 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 47 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 48 of 49
Case 1:18-cv-01422-PLF Document 1-1 Filed 06/15/18 Page 49 of 49
